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                                                  January 7, 2021

  VIA ECF
  Hon. Loretta A. Preska
  United States District Court
  Southern District of New York
  500 Pearl Street
  New York, NY 10007-1312

           Re:      United States v. Donziger, 19 Cr. 561 (LAP); 11 Civ. 691 (LAK)

  Dear Judge Preska:

          I write pursuant to the Court’s January 5, 2021 order regarding the January 19, 2021 trial
  date, and the parties have conferred as directed. The defense objects to conducting the trial
  remotely. While the Special Prosecutors are ready to proceed to trial and prepared to begin on
  January 19, after consulting with defense counsel we have no objection to an adjournment. The
  defense proposed a trial date of May 10, 2021, a date to which we consent if the Court
  determines that an adjournment of trial is appropriate and that date is acceptable to the Court.


                                                  Respectfully submitted,


                                                  ______/s/___________________
                                                  Rita M. Glavin
                                                  Special Prosecutor on behalf
                                                  of the United States
